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 5
 6
                              UNITED STATES DISTRICT COURT
 7
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                     SA CR No. 19-061-JVS
10               Plaintiff,                        DEFENDANT’S TRIAL
                                                   MEMORANDUM
11                      v.
12   MICHAEL JOHN AVENATTI,
13               Defendant.
14
15
16         Defendant MICHAEL JOHN AVENATTI (“Mr. Avenatti”) by and through his
17   counsel of record, H. Dean Steward, hereby files this trial memorandum. This trial
18   memorandum is based upon the attached memorandum of points and authorities, the
19   files, records and transcripts in this case, and further evidence and argument as the Court
20   may permit at a hearing.
21
22    Dated: July 12, 2021                     Respectfully submitted,
23
                                               /s/ H. Dean Steward
24                                              H. DEAN STEWARD
25                                             Attorney for Defendant
                                               MICHAEL JOHN AVENATTI
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27
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 1
                        MEMORANDUM OF POINTS AND AUTHORITIES

 2       I.       INTRODUCTION
 3
               Mr. Avenatti is scheduled to begin a jury trial on Counts 1 through 10 of the
 4
      Indictment on July 13, 2021. Opening statements are scheduled to begin on July 20,
 5
      2021. On July 7, 2021, the government filed its trial memorandum raising with the Court
 6    several evidentiary issues as well as a summary of the evidence it will seek to offer at
 7    trial. In its trial memorandum, the government does not request any specific relief, but
 8    merely provides the Court with a preview of the prosecution’s likely evidentiary
 9    obstacles. Mr. Avenatti comes now, through his counsel of record H. Dean Steward, to
10    provide a preview of the likely response to some of the legal issues the government has
11    raised. The Defendant similarly raises several other legal and evidentiary issues he
12    anticipates coming to fruition at trial.
13       II.      LEGAL AND EVIDENTIARY ISSUES RAISED BY THE
14                GOVERNMENT

15                A. Authorized or Agency Admissions
16
               The government has indicated that it intends to call several witnesses, specifically
17
      Ms. Regnier and Mr. Marchino and introduce their communications with the alleged
18
      victims as “non-hearsay … authorized admissions under Federal Rules of Evidence
19    801(d)(2)(C) and 801(d)(2)(D).” [Dkt. 528, p. 15]. The government makes no mention of
20    any specific statements it seeks to offer pursuant to these sections other than a single text
21    message supposedly received by Mr. Marchino.
22             Pursuant to Federal Rule of Evidence 801(d)(2)(C), a statement is not excluded as
23    hearsay if “the statement is offered against an opposing party and was made by a person
24    whom the party authorized to make a statement on the subject.” The statement, however,
25    “must be considered but does not by itself establish the declarant’s authority under
26    [subsection] (C).” The Ninth Circuit has made it clear that Rule 801(d)(2)(C) “requires
27    the declarant to have specific authority from a party to make a statement concerning a

28    particular subject.” United States v. Bonds, 608 F.3d 495, 502 (9th Cir. 2010)(emphasis
                                                    2
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 1    added)(upholding the district court’s exclusion of statements because sufficient control
 2    over party was not established). In the context of Rule 801(d)(2)(C), authority “means
 3    ‘authority to speak’ on a particular subject on behalf of someone else.” Precision Piping
 4    & Instruments, Inc. v. E.I. Du Pont de Nemours & Co., 951 F.2d 613, 620 (4th Cir.

 5    1991)(upholding district court’s exclusion of hearsay because the statements of
      purported agent were not matters within the scope of their employment).
 6
            Federal Rule of Evidence Rule 801(d)(2)(D) similarly allows for the admission of
 7
      a statement, as not hearsay, so long as the statement is offered against an opposing party
 8
      and “was made by the party’s agent or employee on a matter within the scope of that
 9
      relationship and while it existed…” Fed. R. Evid. 801(d)(2)(D). This rule “requires the
10
      proffering party to lay a foundation to show that an otherwise excludable statement
11
      relates to a matter within the scope of the agent’s employment.” Sims v. Lakeside Sch.,
12
      2007 U.S. Dist. LEXIXS 90261, at *6-7 (W.D. Wash. 2007); citing Breneman v.
13
      Kennecott Corp., 799 F.2d 470, 473 (9th Cir. 1986). When a court is evaluating whether
14    such a foundation has been established, “the contents of the statement shall be
15    considered but are not alone sufficient to establish the agency or employment
16    relationship and scope thereof.” Sea-Land Serv. v. Lozen Int’l, LLC, 285 F.3d 808, 821
17    (9th Cir. 2002). This rule “sets forth three elements necessary for admitting a statement
18    that would otherwise be excluded as hearsay: (1) the statement must be made by an agent
19    or employee of the party against whom the statement is being offered; (2) the statement
20    must concern a matter within the scope of that employment relationship; and (3) the
21    statement must be made while the declarant is yet employed by the party.” Weil v.
22    Citizens Telecom Servs. Co., LLC, 922 F.3d 993, 999 (9th Cir. 2019).

23          The Ninth Circuit has made it clear that in order to determine whether the
      statements are admissible under Rule 801(d)(2)(D), the court “must ‘undertake a fact-
24
      based inquiry applying common law principles of agency.’” Bonds, supra, 608 F.3d 495
25
      at 504, citing NLRB v. Friendly Cab Co., Inc., 512 F.3d 1090, 1096 (9th Cir. 2008). The
26
      Second Restatement of Agency sets forth ten factors for the district courts to consider:
27
      (1) the control exerted by the employer, (2) whether the one employed is engaged in a
28
                                                   3
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 1    distinct occupation, (3) whether the work is normally done under the supervision of an
 2    employer, (4) the skill required, (5) whether the employer supplies tools and
 3    instrumentalities, (6) the length of time employed, (7) whether payment is by time or by
 4    the job, (8) whether the work is in the regular business of the employer, (9) the

 5    subjective intent of the parties, and (10) whether the employer is or is not in business. Id.
      505; citing Restatement (Second) Agency 220(2) (1958).
 6
            Without providing the Court the context of the statements, the testimony of the
 7
      government witness, or any showing that communications were made within the alleged
 8
      scope of Ms. Regnier or Mr. Marchino’s employment or at Mr. Avenatti’s specific
 9
      direction, the Court is unable to make any rulings. Mr. Avenatti requests that each
10
      exhibit, statement, communication or otherwise that the government seeks to introduce
11
      by way of Rule 801(d)(2)(C) or (D) be analyzed individually pursuant to the law cited
12
      above.
13
                B. The Business Records Exception
14
            On May 31, 2021, the government filed a Motion in Limine to Admit Business
15
      Records pursuant to Rule 902(11). [Dkt. 473]. In its motion, the government requested
16
      that the Court authenticate over 107,559 pages of purported business records from 59
17
      entities without attaching a single document or declaration. The Court properly denied
18
      the government’s motion and held, “[t]he Court cannot asses the admissibility of the
19
      records in a vacuum. The Court is unable to assess the sufficiency of the custodian
20
      certificates. Nor is the Court able to review the content of the records to determine
21
      whether the records in fact satisfy the business records exception.” [Dkt. 512, p. 2].
22          On July 9, 2021, the government disclosed its exhibit list and indicated that it
23    intended to introduce records from the following 5 entities by way of the business
24    records exception: (1) California Bank and Trust; (2) Chase Bank; (3) City National
25    Bank; (4) Honda Aircraft Company; and (5) the People’s Bank.
26          Federal Rule of Evidence 902(11) allows for certain domestic records of regularly
27    conducted activity to be self-authenticating and excuses the need for extrinsic evidence
28    of authenticity. Fed. R. Evid. 902(11). Rule 902(11) works in tandem with Rule 803(6)
                                                   4
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 1    to “allow proponents of business records to qualify them for admittance with an affidavit
 2    or similar written statement rather than live testimony.” See United States v. Kahre, 610
 3    F. Supp. 2d 1261, 1263 (D. Nev. 2009)(citing DirecTV, Inc. v. Murray, 307. F.Supp. 2d
 4    764, 772 n. 3 (D.S.C 2004)). Pursuant to Rule 803(6), business records act as an

 5    exception to the rule against hearsay so long as the following requirements are met:

 6
            “(A) the record was made at or near the time by – or from information
 7          transmitted by – someone with personal knowledge;
 8           (B) the record was kept in the course of a regularly conducted activity of a
            business, organization, occupation, or calling, whether or not for profit;
 9           (C) making the record was a regular practice;
10           (D) all these conditions are shown by the testimony of the custodian or
            another qualified witness, or by certification that complies with Rule 902(11)
11          or (12) or with a statute permitting certification; and
12           (E) the opponent does not show that the source of information or the method
            or circumstances of preparation indicate lack of trustworthiness.” Fed. R.
13          Evid. 803(6)
14
15          Courts have “refused to admit records where declarants offer no more than
16    conclusory statements that repeat the language of Rule 803(6).” Izett v. Crown Asset
17    Mgmt., LLC, 2019 U.S. Dist. LEXIS 170548, at *16 (N.D. Cal. 2019)(emphasis added);
18    See also Orlob-Radford v. Midland Funding LLC, 2016 U.S. Dist. LEXIS 142598, at *5
19    (E. D. Wash. 2016)(district court refused to accept “conclusory statements as
20    foundation” to establish foundation of business record when the declarant “parroted the
21    foundational language of Fed. R. Evid. 803(6) but provided no basis to show how he
22    knew the records were actually created in the ordinary course of business.”); See also,
23    Rogers v. Oregon Train Elec. Consumers Co-Op., Inc., 2012 U.S. Dist. LEXIS 65883, at
24    *9 (D. Or. 2012)(requiring more than “boiler, conclusory statements that simply parrot
25    the elements of the business record exception to the hearsay rule”). Further, district
26    courts are “generally weary of admitting emails as business records because in most
27    instances it is difficult to show that the employer required such records to be created and
28
                                                   5
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 1    maintained in the regular course of business.” Arthur v. Gallagher Bassett Servs., 2010
 2    U.S. Dist. LEXIS 162100, at *18 (C.D. Cal. 2010); citing United States v. Ferber, 966
 3    F.Supp. 90, 98 (D. Mas. 1997)(excluding e-mail messages because there was insufficient
 4    evidence that the company required the employee to make and maintain the relevant e-
 5    mail message). Evidence treatises provide that “[m]ost e-mail messages do not satisfy
 6    the criteria of the [business records] exception because e-mail more closely resembles
 7    informal notes or telephone messages, and these mechanisms are not the usual means of
 8    producing routine records…” Arthur, supra, 2010 U.S. Dist. LEXIS at *18-19; citing
 9    Christopher B. Mueller & Laird C. Kilpatrick, 4 Federal Evidence 8:79 (3d ed. 2009).
10          Within its exhibit disclosure, the government provided the defense with both the
11    documents it sought to introduce as business records as well as the corresponding series
12    of multiple declarations from a purported custodian of records. The exhibits the
13    government describes as business records include emails, checks, deposit slips, account

14    balance summaries, a signature card, various written agreements, and other records.
      Again, the government has failed to lay the proper foundation for these business records
15
      and the government’s reliance on the declarations is misplaced. Accordingly, these
16
      records, emails and other documents are classic hearsay and cannot be admitted into
17
      evidence by way of the business records exception to the hearsay rule.
18
                C. Redactions In Trial Exhibits
19
20          On Tuesday, July 6, 2021 at 10:42 p.m., the government produced the electronic
21    version of its exhibits alongside its “draft exhibit list.” The government conveyed its

22    intention to introduce approximately 468 exhibits into evidence. At this time, the
      government indicated that it had redacted several of the exhibits pursuant to the Court’s
23
      order in connection with the motions in limine. [Dkt. 512, p.4]. Less than 24 hours later,
24
      on the evening of July 7, 2021, the government filed its trial brief claiming, “[a]s of the
25
      time of this filing, the government has received no objections.” [Dkt. 528, p. 18]. It is
26
      unreasonable to expect that Mr. Avenatti would have sufficient time to review, in detail,
27
      each of the 468 exhibits, overnight and provide substantive objections to the
28
                                                    6
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 1    government’s redactions by the following day. As the review of these exhibits by the
 2    defense continues, Mr. Avenatti reserves the right to notify the government of the
 3    Defendant’s objections to the redactions and lodge with the Court any objection the
 4    defense deems appropriate and reasonable.

 5              D. Impeachment Issues
 6
            The government has provided criminal history reports for many of its witnesses.
 7
      Mr. Avenatti intends on impeaching several of the government witnesses with evidence
 8    of prior criminal convictions pursuant to Federal Rule of Evidence 609. Pursuant to
 9    Federal Rule of Evidence 609, if more than 10 years have passed since the witness’
10    conviction or release from confinement, whichever is later, the evidence of the
11    conviction is admissible only if the following two requirements are met: (1) the
12    probative value substantially outweighs its prejudicial effect; and, (2) the proponent
13    gives an adverse party reasonable written notice of the intent to use it so the party has an
14    opportunity to contest it.
15          On July 2, 2021, undersigned counsel contacted the government and provided
16    notice of its intention to impeach various witnesses with criminal convictions that

17    occurred more than 10 years ago. On July 6, 2021, the government responded and

18
      indicated that it did not object to Mr. Avenatti’s cross examining the NFL litigant as to
      his 2003 federal conviction for mail fraud but objected to the cross examination of Mr.
19
      Barela on his 2006 misdemeanor conviction. In the government’s trial brief, the
20
      government similarly conveyed its position to the Court. In its trial brief, the prosecution
21
      claims that Mr. Avenatti should be precluded from cross-examining Mr. Barela on his
22
      misdemeanor conviction for contacting without a license. [Dkt. 528, p. 19].
23
            The misdemeanor nature of Mr. Barela’s prior conviction does not automatically
24
      eliminate its potential for impeachment material. Rule 609 allows for a witness to be
25
      impeached by a prior misdemeanor conviction so long as the misdemeanor violation
26
      involved dishonesty or false statements. See United States v. Young, 2019 U.S. Dist.
27    LEXIS 232581, at *4 (C.D. Cal. 2019); citing Medrano v. City of Los Angeles, 973 F.2d
28
                                                    7
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 1    1499, 1507 (9th Cir. 1992); See also United States v. Ortega, 561 F.2d 803, 805 (9th Cir.
 2    1977).
 3          Mr. Barela was charged with three counts in connection with the conviction at
 4    issue (all with a violation date of July 22, 2003): (1) Count 1, a violation of Business and

 5    Professions Code, unlawful use of contractor’s license; (2) Count 2, a violation of
      Business and Professions Code section 7028(a), contracting without a license; and, (3)
 6
      Count 3, a violation of Penal Code section 368(b)(1), inflicting injury on elder adult. On
 7
      February 28, 2006, Mr. Barela agreed to take a plea and was convicted of Count 2. Mr.
 8
      Barela was placed on three years of probation, was ordered to pay restitution and
 9
      perform community service. Mr. Barela’s probation was revoked four separate times as a
10
      result of probation violations and he was not discharged from probation until 2011.
11
            Mr. Avenatti asks that this Court find that a violation of California Business and
12
      Professions Code section 7028(a) is a crime involving dishonesty and should be
13
      permitted for impeachment. The “purpose of the [California] licensing law is to protect
14    the public from incompetence and dishonesty in those who provide building and
15    constructing services…” Davis Moreno Constr., Inc. v. Frontier Steel Bldgs. Corp., 2009
16    U.S. Dist. LEXIS 440076, at *55 (E.D. Cal. 2009)(emphasis added); citing Hydrotech
17    Systems, Ltd. v Oasis Waterpark, 52 Cal. 3d 988 (1991). The nature of this conviction
18    shows that Mr. Barela lied to the public and held himself out to be a licensed contractor
19    when he was not. Further, his four revocations of probation and probationary sentence
20    that extended into 2011 additionally establish the probative value of this impeachment
21    material. Mr. Avenatti should be permitted to impeach Mr. Barela, one of the alleged
22    victims in this case and an essential witness to the government, with this prior

23    conviction. The nature of the offense, the importance of this witness, the probation
      violations that followed, and the probationary period that extended almost into the 10
24
      year window of this trial make its probative value high. The probative value of this
25
      impeachment material substantially outweighs any prejudice. Although the government
26
      has generally indicated that “the prejudicial effect is possibly quite high” the prosecution
27
      has cited no specific prejudice to the government or to its witness. [Dkt. 528, p. 20].
28
                                                   8
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 1              E. Other Fraud Charges
 2
            The government preemptively asks the Court to find that if Mr. Avenatti
 3
      opens the door to any subject related to the cases pending in the Southern District of
 4    New York or Counts 11 through 36, the government must be permitted to elicit
 5    testimony regarding Mr. Avenatti’s other pending Indictment and conviction in the
 6    Southern District of New York as well as the allegations made against him in Counts 11
 7    through 36. On September 10, 2020, Mr. Avenatti moved to sever and separately try
 8    Counts 1 through 10 of the 36-Count Indictment. [Dkt. 265]. In granting the motion, the
 9    Court indicated, “In sum, Avenatti would be prejudiced if the Court did not grant a
10    severance.” [Dkt. 371, p. 3]. The government acknowledges that it is aware of the
11    Court’s orders as it relates to the severance and “does not intend to introduce evidence of
12    -- or refer at trial to -- defendant’s other charges except as permitted by the Court in its

13    prior Orders.” [Dkt. 528, p. 20]. However, the government indicates that if the Defendant
      opens the door to discussion of the other counts and charges, the government must be
14
      permitted to elicit other testimony relating to the other counts or the charges against Mr.
15
      Avenatti in the Southern District of New York as well as the conduct described in
16
      Counts 11 through 36.
17
            The Sixth Amendment to the United States Constitution guarantees the defendant
18
      the right to be confronted with the witnesses against him. U.S. Const. Amend. VI. The
19
      Sixth Amendment protects “the right to cross-examine witnesses to attack their general
20
      credibility or to show their possible bias or self-interest in testifying.” United States v.
21
      Davis, 2015 U.S. Dist. LEXIS 15524, at *14-15 (C.D. Cal. 2015); citing Hughes v.
22    Raines, 641 F.2d 790, 792 (9th Cir. 1981). The confrontation clause “requires a
23    defendant to have some opportunity to show bias on the part of the prosecution witness.”
24    Id. citing United States v. Abel, 469 U.S. 45, 50 (1984); See also Fowler v. Sacramento
25    Cnty. Sheriff’s Dep’t, 421 F.3d 1027, 1036 (9th Cir. 2005). The exposure of a witness’
26    motivation in testifying is a “proper and important function of the constitutionally
27    protected right of cross-examination.” United States v. Kohring, 637 F.3d 895, 905 (9th
28    Cir. 2011); citing Davis v. Alaska, 415 U.S. 308, 318 (1974).
                                                   9
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 1          The government attempts to limit Mr. Avenatti’s ability to cross examine
 2    prosecution witnesses arguing that the questioning would naturally elicit responses
 3    regarding Counts 11 through 36 as well as the conduct charged in the Southern District
 4    of New York. The government provides two examples of how the Defendant’s cross

 5    examination could open the door to government questioning on these issues.
            First, the government implies that much of the time spent interviewing Mr.
 6
      Avenatti’s former paralegal Judy Regnier was related to Counts 11 through 36 as well as
 7
      the charges in the Southern District of New York. The government argues that if Mr.
 8
      Avenatti cross-examines Ms. Regnier regarding how much time she spent being
 9
      interviewed by the government, then “the government should be able to elicit on redirect
10
      that much of her time spent being interviewed concerned matters other than the clients
11
      whose settlement funds defendant is alleged to have stolen.” [Dkt. 528, p. 21]. The
12
      government has not provided the Defendant or the Court with a detailed breakdown as to
13
      what time with Ms. Regnier was spent discussing Counts 1 through 10 rather than
14    Counts 11 through 36 or the cases within the Southern District of New York. The
15    government previously has asserted that Ms. Regnier is not a critical witness in this case.
16    See [Dkt. 490, p. 9](“defendant’s opinion on whether EA Employee 1 is critical and vital
17    to his prosecution is both irrelevant and wrong.”). Although the government has claimed
18    that Ms. Regnier is not an essential witness in their case, at least 128 of the
19    prosecution’s 468 exhibits include references, messages, e-mails or other
20    documentation related to Ms. Regnier. As the defense has previously stated, the
21    testimony of Ms. Regnier is the lynchpin to the government’s case in chief. Unless the
22    government is able to perform a detailed breakdown of the time spent with the

23    government on Counts 11 through 36 as well as the conduct alleged in the Southern
      District of New York, the government cannot seek the drastic relief of limiting Mr.
24
      Avenatti’s ability to cross examine Ms. Regnier on the time spent with the government
25
      preparing for trial and discussing the case at issue.
26
            Second, the government argues that Mr. Avenatti should not be permitted to
27
      testify as to the $567,000 the government paid Mr. John Drum because “the fees related
28
                                                    10
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 1    to the sole task that Mr. Drum is expected to testify about at the upcoming trial …
 2    totaled only ~$198,000.” [Dkt. 528, p. 21]. The government, at the same time it refuses
 3    to produce the itemized invoices, which are Brady, Giglio, and Jencks material, has
 4    indicated that only $198,000 was paid directly to “tracing the flows of funds relating to

 5    settlement payments owed” to the alleged victims. The government argues that although
      Mr. Drum was paid ~$112,000 to analyze Michael Avenatti’s personal finances,
 6
      ~$34,000 for evaluating financial statements provided to The People’s Bank, and
 7
      ~$223,000 in analyzing the finances of Eagan Avenatti LLP and Avenatti & Associates,
 8
      these analyses are unrelated to the counts proceeding to trial.
 9
            The government’s own exhibits, pretrial arguments and Mr. Drum’s analysis
10
      derail the logic of this argument. Mr. Drum’s review of Mr. Avenatti’s personal
11
      expenses was necessary to his analysis of whether Mr. Avenatti misappropriated funds
12
      from his former clients. Mr. Drum could not have possibly attempted to trace the flow of
13
      client funds without a reviewing Mr. Avenatti’s personal accounts. By way of example
14    only, the government’s Exhibit 421, a summary chart prepared by Mr. Drum specifically
15    includes a graphic described as “Avenatti Personal Account.”
16          Similarly, Mr. Drum must have evaluated the finances of Eagan Avenatti LLP and
17    Avenatti & Associates and statements made to the People’s Bank to determine the nature
18    and extent of Mr. Avenatti’s purported misappropriation of client funds. The vast
19    majority of the charts created by Drum include explicit references to the Eagan Avenatti
20    LLP and Avenatti & Associates accounts. The government cannot plausibly argue that
21    its entry of “Analyzing the finances of Eagan Avenatti LLP and Avenatti’s personal
22    finances” are unrelated to Counts 1 through 10. This argument is further supported by

23    the government’s attempts to admit into this trial evidence of both Avenatti & Associates
      as well as Eagan Avenatti LLP deposit details, checks, signature cards, and bankruptcy
24
      evidence. Accordingly, Mr. Avenatti should be permitted to cross-examine Mr. Drum as
25
      to the entire amount paid to him and his firm(s) in connection with this case.
26
            Mr. Avenatti asks that this Court find that the examples proffered by the
27
      government do not describe scenarios where the government would be permitted to elicit
28
                                                   11
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 1    testimony regarding Counts 11 through 36 as well as the matters charged within the
 2    Southern District of New York. Aside from these two examples, the government asks
 3    this Court to rule in a vacuum and order that any crack of the door regarding matters
 4    unrelated to Counts 1 through 10 will allow the government to “elicit appropriate limited

 5    information about these other matters involving defendant.” [Dkt. 528, p. 20]. Mr.
      Avenatti reserves the right to challenge the government’s attempts to elicit testimony
 6
      unrelated to Counts 1 through 10.
 7
 8             F. Lack of Reciprocal Discovery or Affirmative Defenses
 9
            The government wishes to preclude Mr. Avenatti from pursuing any affirmative
10
      defense. The Defendant acknowledges that the Court set a deadline for him to provide
11
      the government with notice of his intentions to disclose an advice of counsel defense. No
12    similar deadline has been set for Mr. Avenatti to disclose his reliance on any other
13    affirmative defense. As such, Mr. Avenatti reserves the right to present a defense to
14    fullest extent allowable by law.
15
               G. Privilege Issues that Defendant May Attempt to Raise
16
17          In the government’s trial brief, it raised several different issues as it relates to
18    privilege. Defendant intends on invoking the privileged codified within the attorney-

19
      client work product doctrine as well as the mediation privilege. Each is addressed
      individually below.
20
            Rules protecting the confidentiality of mediation proceedings serve the purpose of
21
      “encouraging parties to attend mediation and communicate openly and honestly in order
22
      to facilitate successful alternative dispute resolution.” Folb v. Motion Picture Indus.
23
      Pension & Health Plans, 16 F. Supp. 2d 1164, 1172 (9th Cir. 1998). If participants
24
      cannot rely on the confidential nature of the proceedings, then counsel “will feel
25
      constrained to conduct themselves in a cautious tightlipped non-committal manner more
26
      suitable to poker players in a high-stakes game that to adversaries attempting to arrive at
27
      a just civil dispute.” Lake Utopia Paper, Ltd. v. Connelly Containers Inc., 608 F.2d 928,
28
                                                    12
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 1    930 (2d. Cir. 1979). When the mediator or parties to the proceedings are required to
 2    divulge information said or documentation presented during mediation proceedings, “the
 3    side most forthcoming in the mediation process is penalized…” Folb, supra, 16 F. Supp.
 4    2d at 1172. A principal purpose of the mediation privilege “is to provide mediation

 5    parties protection against these downside risks of a failed mediation.” Id. at 1173; citing
      Alan Kirtley, The Mediation Privilege’s Transition from Theory to Implementation:
 6
      Designing a Mediation Privilege Standard to Protect Mediation Participants, the
 7
      Process and the Public Interest, 1995 J. Disp. Resol. 1, 8, 16. If parties were “permitted
 8
      or required to testify about their activities, or if the production of notes or reports of their
 9
      activities could be required, not even the strictest adherence to purely factual matters
10
      would prevent the evidence from favoring or seeming to favor one side.” Id. at 1172;
11
      citing NLRB v. Joseph Macaluso, Inc., 618 F.2d 51, 55-56 (9th Cir. 1980).
12
            Testimony taken during and documentation provided at mediation proceedings are
13
      protected by both Federal Rule of Evidence 408 and the common law mediation
14    privilege. Based on the following, Mr. Avenatti asks that testimony regarding statements
15    made in connection with mediation, and documents produced in connection with those
16    proceedings, be excluded at trial.
17                       i.     The Common Law Mediation Privilege
18          Pursuant to Federal Rule of Evidence 501, privileges are created and governed
19    exclusively by common law unless the United States Constitution, a federal statute or the
20    Supreme Court directly provides otherwise. Fed. R. Evid. 501. Federal courts are
21    permitted to “define new privileges based on interpretation of common law principles …
22    in the light of reason and experience.” Molina v. Lexmark Int’l, Inc., 2008 U.S. Dist.

23    LEXIS 83014, at *23-24 (C.D. Cal. 2008). The Ninth Circuit previously determined that,
      “[t]he need for confidentiality and trust between participants in the mediation proceeding
24
      is sufficiently imperative to necessitate the creation of some form of privilege. This
25
      conclusion takes on added significance when considered in conjunction with the fact that
26
      many district courts rely on the success of alternative dispute resolution proceedings to
27
      minimize the size of their dockets.” Folb, supra, 16 F. Supp. 2d at 1175 (emphasis
28
                                                     13
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 1    added). The Folb court ultimately determined, “[i]t is appropriate, in light of reason and
 2    experience, to adopt a federal mediation privilege applicable to all communications
 3    made in conjunction with a formal mediation.” Id. at 1166. The exact scope and contours
 4    of the mediation privilege, however, remain unclear. Molina, supra, 2008 U.S. Dist.

 5    LEXIS at *24.
            Several other district courts have applied this privilege and suppressed testimonial
 6
      or written evidence divulged during confidential, mediation proceedings. See United
 7
      States v. Gullo, 672 F. Supp. 99 (W.D.N.Y. 1987)(district court suppressed confidential
 8
      information disclosed at an ADR proceeding in a criminal proceeding finding that the
 9
      privileged information was protected); Molina, supra, 2008 U.S. Dist. LEXIS at *26;
10
      citing Microsoft Corp. v. Suncrest Enterprise, 2006 U.S. LEXIS 21269, at *2 (N.D. Cal.
11
      2006)(“[c]ommunications to the mediator and communications between parties during
12
      the mediation and communications in preparation for and during the course of a
13
      mediation with a neutral are protected.”)(emphasis added); In Re RDM Sports Group,
14    Inc. 277 B.R. 415, 430-31, n.6 (Bankr. N.D. Ga. 2002)(“the encouragement of settlement
15    negotiations and alternative dispute resolution is a compelling interest sufficient to
16    justify recognition of a mediation privilege.”); Sheldone v. Pennsylvania Turnpike
17    Comm’n, 104 F.Supp. 2s. 511, 512 (W.D. Pa. 2000)([a]bsent the mediation privilege,
18    parties and their counsel would be reluctant to lay their cards on the table so that a
19    neutral assessment of the relative strengths and weaknesses of their opposing positions
20    could be made.”)
21                       ii.   Rule 408
22          Similarly, the legislature has indicated that statements made during mediation

23    must be excluded from trial. The rule excluding evidence of compromise offers and
      negotiations is codified in Federal Rule of Evidence 408. Pursuant to Rule 408,
24
      “evidence of the following is not admissible – on behalf of any party – either to prove or
25
      disprove the validity or amount of a disputed claim or to impeach by a prior inconsistent
26
      statement or a contraction…” Fed. R. Evid. 408(a). Evidence of furnishing, proposing,
27
      offering, accepting, promising to accept, or offering to accept valuable consideration in
28
                                                   14
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 1    compromise or in an attempt to compromise the claim is inadmissible by this section.
 2    Fed. R. Evid. 408(a)(1). Second, conduct or a statement made during compromise
 3    negotiations about the claim is inadmissible. Fed. R. Evid. 408(a)(2). The evidence is
 4    admissible, however, “when offered in a criminal case and when the negotiations related

 5    to a claim by a public office in the exercise of its regulatory, investigative or
      enforcement authority.” Fed. R. Evid. 408(a)(2).
 6
            In 2006, Rule 408 was amended to “settle some questions in the courts about the
 7
      scope of the Rule… [t]he amendment provides that Rule 408 does not prohibit the
 8
      introduction in a criminal case of statements or conduct during compromise negotiations
 9
      regarding a civil dispute by a government regulatory, investigative, or enforcement
10
      agency.” Fed. R. Evid. 408 (emphasis added). Notes of Advisory Committee on 2006
11
      Amendments. Further, in response to public comment, the amendment was altered to
12
      provide that “statements and conduct during settlement negotiations are to be admissible
13
      in subsequent criminal litigation only when made during settlement discussions of a
14    claim brought by a government regulatory agency.” Id. (emphasis added). Another trial
15    court within the Central District of California court has agreed that the text of Rule 408,
16    “demonstrates that Rule 408 applies in criminal as well as civil cases.” United States v.
17    Park, 2008 U.S. Dist. LEXIS 111826, at *14 (C.D. Cal. 2008); citing Fed. R. Evid. 408
18    2006 Advisory Committee (“[s]tatements made during compromise negotiations of other
19    disputed claims are not admissible in subsequent criminal litigation, when offered to
20    prove liability for, invalidity of, or amount of those claims.”). In Park, the district court
21    determined that bank statements in connection with the settlement of a civil claim
22    against Park were protected by Rule 408 and the statements were excluded from trial.

23          Other Circuits have similarly agreed that Rule 408 applies in criminal
      proceedings. Id. at *10; citing United States v. Arias, 431 F.3d 1327, 1338 (11th Cir.
24
      2005)(“we join the Fifth and Tenth Circuits in holding that Rule 408 applies to both civil
25
      and criminal proceedings.”); United States v. Bailey, 327 F.3d 1131, 1146 (10th Cir.
26
      2003)(“we agree with those courts which apply Rule 408 to bar settlement evidence in
27
      both criminal and civil proceedings…”); See also United States v. Roti, 484 F.3d 934
28
                                                    15
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 1    (7th Cir. 2007)(finding that the Federal Rule 408 was amended to apply to criminal
 2    cases).
 3                      iii.   Attorney Work Product Privilege
 4          Pursuant to Federal Rule of Evidence 501, privileges are created and governed

 5    exclusively by common law unless the United States Constitution, a federal statute or the

 6    Supreme Court directly provides otherwise. Fed. R. Evid. 501. The work-product

 7    doctrine has been partially codified in Federal Rule of Civil Procedure 26 and Federal

 8    Rule of Criminal Procedure 16. The United States Supreme Court has also explicitly

 9    recognized the attorney work-product doctrine in its seminal decision, Hickman v.

10    Taylor, 329 U.S. 495, 510-11 (1947). The Court in Hickman indicated that the

11    unambiguous creation of the privilege was necessary because an attorney must be

12    permitted to “work with a certain degree of privacy, free from unnecessary intrusion by

13    opposing parties and their counsel.” Id. at 511. Absent this protection, the Supreme

14    Court concluded that “[i]inefficiency, unfairness and sharp practices would inevitable

15    develop in the giving legal advice and in the preparation of cases for trial…” Id. The

16    work-product privilege is narrower than the attorney-client privilege but operates to

17    serve a common interest, “people should be free to make requests of their attorneys
18    without fear, and that their attorneys should be free to conduct research and prepare
19    litigation strategies without fear that these preparations will be subject to review by
20    outside parties.” In Re Grand Jury Subpoenas, 454 F.3d 511, 520 (6th Cir. 2006).
21          The work-product doctrine protects “documents and tangible things prepared by a
22    party or his representative in anticipation of litigation.” United States v. Richley, 632
23    F.3d 559, 567 (9th Cir. 2011); citing Admiral Ins. Co v. U.S. Dist. Ct., 881 F.2d 1486,
24    1494 (9th Cir. 1989). The Ninth Circuit has identified only two requirements for the
25    work-product protection to apply to documents: (1) they must be “prepared in
26    anticipation of litigation or for trial”; and (2) they must be prepared “by or for [the] party
27    [seeking the protection] or by or for that . . . party’s representative.” Wichansky v.
28    Zowine, 2015 U.S. Dist. LEXIS 132711, at *8 (D. Az. 2015); quoting United States v.
                                               16
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 1    Torf (In Re Grand Jury Subpoena), 357 F.3d 900, 907 (9th Cir. 2004). There are two
 2    types of attorney work product that fall within this doctrine: fact work product and
 3    opinion work product. See In Re Grand Jury Subpoenas, 870 F.3d 312, 316 (4th Cir.
 4    2017). The work product privilege “shields both opinion and fact work product from
 5    discovery…” ACLU of N. Cal. v. United States DOJ, 880 F.3d 473, 488 (9th Cir. 2018).
 6    Whether the work-product doctrine applies, “cannot be decided simply by looking at one
 7    motive that contributed to a document’s preparation. The circumstances surrounding the
 8    documents preparation must also be considered.” Torf (In Re Grand Jury Subpoena),
 9    357 F.3d 900, 908 (9th Cir. 2003).
10          At its core, “the work-product doctrine shelters the mental processes of the
11    attorney, providing it a privileged area within which he can analyze and prepare his
12    client’s case, and protects both material prepared by agents for the attorneys as well as
13    those prepared by the attorney himself.” United States v. Sanmina Corp, & Subsidiaries,
14    968 F.3d 1107, 1112 (9th Cir. 2020)(emphasis added). The doctrine is intensely practical
15    and “the protection extend[ends] beyond work prepared by attorneys to work prepared
16    by other people, such as investigators, working under the direction of attorneys.”
17    Shenwick v. Twitter, Inc., 2019 U.S. Dist. LEXIS 75551, at *8 (N.D. Cal. 2019); quoting
18    United States v. Nobles, 422 U.S. 225, 238 (1975). The work product privilege
19    protection “continues even after the litigation is completed.” Lopez v. Vieira, 719
20    F.Supp. 2d 1199, 1201 (E.D. Cal. 2010); See also Memry Corp. v. Ky. Oil Tech., N.V.,
21    2007 U.S. Dist. LEXIS 104031, at *7 (N.D. Cal. 2007)(“work product protection
22    ‘endures after termination of proceedings for which the document was created.’”)
23          Unlike the broader attorney-client privilege, “[t]he protection stemming from the
24    work product doctrine belongs to the professional, rather than the client, and efforts to
25    obtain disclosures of opinion work product should be evaluated with particular care.”
26    Natural-Immunogenics Corp. v. Newport Trial Grp., 2018 U.S. Dist. LEXIS 228114, at
27    *39 (C.D. Cal. 2018)(emphasis added); citing Rhone-Poulenc Rorer Inc. v. Home Indem.
28
                                                   17
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 1    Co, 32 F.3d 851, 866 (3rd Cir. 1994); See also, Xcentric Ventures, LLC v. Borodkin, 934
 2    F. Supp. 2d 1125, 1146 (D. Az. 2013)(“It is the attorney, though, who has standing to
 3    assert the work-product privilege.”); Bozzuto v. Cox, 255 F.R.D. 673, 679 (C.D. Cal.
 4    2009)(“The holder of the work product immunity includes the attorney who prepared the
 5    work.”). Accordingly, any claim by the government that they have relied upon waivers
 6    by the alleged victim clients in order to review and use information and documents
 7    protected by Mr. Avenatti’s work product privilege, is without merit.
 8          The Supreme Court, in creating privileges, has oftentimes weighed the states’
 9    prior recognition of the relevant privilege in fashioning its decision to create a federal
10    counterpart, “[t]he policy decisions of the states bear on the question whether federal
11    courts should recognize a new privilege or amend the coverage of an existing one” and
12    “[b]ecause state legislatures are fully aware of the need to protect the integrity of the
13    factfinding functions of their courts, the existence of a consensus among the States
14    indicates that ‘reason and experience’ support recognition of the privilege.” Jaffee v.
15    Redmond, 518 U.S. 1, 13-14 (1996). California courts provide guidance for the
16    expansive nature of the attorney-client work product doctrine. Similar to its federal
17    equivalent, the California attorney work-product doctrine “creates for the attorney a
18    qualified privilege against discovery of general work product and an absolute privilege
19    against disclosure of writings containing the attorney’s impressions, conclusions,
20    opinions, or legal theories.” State Comp. Insurance Fund v. Superior Court, 91 Cal. App.
21    4th 1080, 1091 (2001). The attorney “is the exclusive holder of the privilege.” Id. See
22    also, People v. Superior Court (Laff), 25 Cal. 4th 703 (2001)(the California Penal Code
23    does not restrict a court’s authority to adjudicate claims of privilege or work product
24    raised by attorneys who are suspects).
25       III.   LEGAL AND EVIDENTIARY ISSUES RAISED BY THE DEFENSE
26              A. The Government’s Discovery Obligations
27          Mr. Avenatti continues to objects to the government’s deficient discovery
28    disclosures. Mr. Avenatti again requests that the government provide assurances that it
                                                  18
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 1    has complied with its discovery obligations. Mr. Avenatti further asks that the
 2    prosecution comply with its discovery obligations by providing the Defendant with
 3    exculpatory, hand-written notes created by agents and later reduced to typed summaries.
 4    If the government is unwilling to provide the Defendant with a copy of the handwritten

 5    notes, the Defendant asks that the government provide the Court with a copy of the
      handwritten notes that correspond with the witness statements it has already lodged with
 6
      the Court. The lodging of the notes would allow for the Court to review the notes,
 7
      compare them to the typewritten summaries and determine if the prosecution has failed
 8
      to provide exculpatory materials to the Defendant. Additionally, the Defendant asks that
 9
      the government comply with its obligations under Jencks and Rule. 26.2.1 The Defendant
10
      requests these materials in connection with all witnesses on its witness list.
11
             The suppression of evidence favorable to an accused is itself sufficient to amount
12
      to a denial of due process. Brady v. Maryland, 373 U.S. 83, 87 (1963). The prosecution’s
13
      suppression of evidence that is favorable to the accused “violates due process where the
14    evidence is material either to guilt or to punishment, irrespective of good faith or bad
15    faith of the prosecution.” Id. at 88. Under Brady, the prosecution is “trusted to turn over
16    evidence to the defense because its interest is not that it shall win a case, but that justice
17    shall be done.” United States v. Bundy, 968 F.3d 1019, 1023 (9th Cir. 2020)(affirming
18    the district court’s dismissal of a twenty-one defendant obstruction case because the
19    government flagrantly disregarded its Brady obligations by failing to disclose materials
20    until several days into trial).
21           There are three elements to a Brady violation: (1) the evidence at issue must be
22    favorable to the accused; (2) the evidence must have been suppressed by the state

23    willfully or inadvertently; and (3) prejudice must have ensued. Reis-Campos v. Biter,
      832 F.3d 968, 975 (9th Cir. 2016); citing Strickler v. Greene, 527 U.S. 263, 281-82
24
      (1999). Evidence is favorable to the accused for Brady purposes if it is either
25
26
27
      1 The Defendant intends on filing a separate trial motion as it relates to 18 U.S.C. 3500,
      Jencks v. United States, and Rule 26.2 prior to the government’s first witness taking the
28    stand.
                                                  19
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 1    “exculpatory or impeaching,” “advantageous to the defendant” or “would tend to call the
 2    government’s case into doubt.” Comstock v. Humphries, 786 F.3d 701, 708 (9th Cir.
 3    2015); citing Strickler, supra, 527 U.S. at 281-82 (1999); Banks v. Dretke, 540 U.S. 668,
 4    691 (2004); Milke v. Ryan, 711 F.3d 998, 1012 (9th Cir. 2013). The term “suppression”

 5    does not describe merely “overt or purposeful acts on the part of the prosecutor; sins of
      omission are equally within the Brady’s scope.” United States v. Price, 566 F.3d 900,
 6
      907 (9th Cir. 2009); citing Benn v. Lambert, 283 F.3d 1040, 1053 (9th Cir. 2002)(the
 7
      terms “suppression,” “withholding” and “failure to disclose” have the same meaning for
 8
      Brady purposes). The prosecution has “a duty to learn of any exculpatory evidence
 9
      known to others acting on the government’s behalf. Because the prosecution is in a
10
      unique position to obtain information known to other agents of the government, it may
11
      not be excused from disclosing what it does not know but could have learned.” Id. at
12
      909; quoting United States v. Zuno-Acre, 44 F.3d 1420, 1427 (9th Cir. 1997).
13
            The prosecution’s Brady obligations extend to exculpatory statements contained in
14    handwritten notes taken by government agents during their interviews of government
15    witnesses. Notes taken from the FBI or other law enforcement agencies during
16    interviews with prospective government witnesses or with the accused “constitute
17    potentially discoverable materials.” United States v. Harris, 543 F.2d 1247, 1248 (9th
18    Cir. 1976); See also, United States v. Harrison, 524 F.2d 421 (D.C. Cir. 1975). The
19    disposal of prejudicial materials by the FBI amounts to a “usurpation of the judicial
20    function” and the Ninth Circuit has made it very clear that “such original or rough
21    interview notes must be preserved.” Id. Handwritten notes may be used to impeach a
22    witness and to showcase discrepancies between the notes and the typed summaries. The

23    notes’ value is not diminished where “the notes form the basis of a final report that the
      prosecution turns over to the defense.” United States v. Andrews, 532 F.3d 900, 906
24
      (D.C. Cir. 2008). The prosecutor is not relieved of his obligations under Brady if the
25
      notes are kept by an agent or other officers and never reviewed by the prosecutor. Id.
26
      Citing United States v. Harrison, 524 F.2d 421, 427 (D.C. Cir. 1975)
27
            In United States v. Serv. Deli, 151 F.3d 938 (9th Cir. 1998), the Defendant was
28
                                                   20
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 1    tried and convicted of filing a false statement with the United States Defense
 2    Commission Agency. On appeal, the Defendant argued that the trial court erred by
 3    refusing to require the government to produce all of the agents’ handwritten notes taken
 4    during interviews. Prior to denying the Defendant’s request, the trial court reviewed the

 5    relevant handwritten notes and compared them to the summary of interview produced by
      the government and found that there was nothing in the notes that was “material to the
 6
      matter at hand…” Id. at 943. The Ninth Circuit reviewed the relevant hand-written notes
 7
      and determined there were discrepancies between the notes and the typewritten
 8
      summaries. The court then determined, “the government violated the due process rights
 9
      of defendant by failing to disclose material information contained in the … notes.” Id.
10
      Defendant was granted a new trial. Id. at 944.
11
            Other courts around the country have similarly agreed that handwritten notes
12
      taken during a witness interview may contain exculpatory evidence amounting to Brady
13
      material. See United States v. Andrews, 532 F.3d 900, 906 (D.C. Cir. 2008); citing
14    United States v. Harrison, 524 F.2d 421, 427 (D.C. Cir. 1975)(“[i]t seems too plain for
15    argument that rough notes from any witness interview could prove to be Brady
16    material.”(emphasis added)); United States v. Van Doren, 2013 U.S. Dist. LEXIS 75120,
17    at *4 (D. Ak. 2013)(if field notes made by government agents contain exculpatory
18    statements, they would be required to be produced under Brady v. Maryland); United
19    States v. Mansker, 240 F.Supp. 2d 902, 906-07(N.D. Iowa 2003)(trial court prohibited
20    government witness from testifying due to the government’s failure to turn over raw
21    notes from a witness interview); United States v. Giron, 2017 U.S. Dist. LEXIS 207269
22    at *20-21 (D.N.D. 2017)(the government did not even attempt to argue that portions of

23    raw notes were not required to be produced pursuant to Brady/Giglio obligations); SEC
      v. Neil, 2014 U.S. Dist. LEXIS 88223, at *14 (N.D. Cal. 2014)(Defendant was not
24
      entitled to the raw notes in an SEC case because the same rights afforded in a criminal
25
      matter did not extend to civil matter); United States v. Lujan, 530 F. Supp. 2d 1224,
26
      1228 (D. N.M. 2008)(an agent’s rough interview notes may be discoverable under the
27
      requirements of Brady); United States v. Van Doren, 2013 U.S. Dist. LEXIS 75120, at
28
                                                  21
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 1    *4 (W.D. Ak. 2013)(field notes taken by government agents or witnesses must be
 2    produced if they contain exculpatory evidence); United States v. Bolden, 545 F.3d 609,
 3    622-23 (8th Cir. 2008)(raw notes from agents should be produced to the defense
 4    pursuant to the prosecution’s Brady obligations if the notes contain exculpatory

 5    statements).

 6
                B. Request to Exclude Government Witnesses Not Produced by Way of its

 7
                     Witness List
            On January 25, 2021, the Court continued the jury trial on Counts 1 through 10
 8
      from February 23, 2021 to July 13, 2021. [Dkt. 407]. The Court also set “the following
 9
      dates and deadlines with respect to the trial on Counts 1 to 10 of the Indictment in this
10
      matter…” [Dkt. 407, p. 3]. The Court ordered the government to produce its
11
      “Government Witness List Disclosure” by the deadline of June 14, 2021. [Dkt. 407, p.
12
      3]. The Court ordered the government to disclose Jencks Act Materials and Witness
13
      Statements by June 14, 2021. [Dkt. 407, p. 3].
14
            The Defendant asks that any government witness not appearing on the witness list
15
      provided by the government on June 14, 2021 be excluded from trial. The law is clear
16    that the district court is free to exclude government witnesses when the government
17    violates a specific order and has no excuse for such delay. See United States v. Talbot, 51
18    F.3d 183, 187-88 (9th Cir. 1995)(upholding the district court’s exclusion of government
19    witness when the prosecution failed to meet the obligations of the local rules and the
20    Court’s order regarding its disclosure of its witness list); See also, United States v.
21    Grace, 526 F.3d 499 (9th Cir. 2008)(holding that a district court may “require the
22    government to disclose a final list of its proposed trial witnesses and has the authority to
23    enforce such an order”); citing United States v. Richter, 488 F.2d 170, 173-74 (9th Cir.
24    1973)(“district courts have the inherent power to ‘order the government to divulge

25    names of prospective witnesses.’”)
            On July 7, 2021, twenty-three days after the deadline had passed, and 6 days prior
26
      to the commencement of trial, the prosecution contacted undersigned counsel requesting
27
      that the Defendant stipulate to various issues in an effort to avoid the government’s need
28
                                                    22
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 1    to call multiple witnesses. The Defendant informed the government that he will not
 2    stipulate to the matters proposed by the government. It is anticipated that the
 3    government will now attempt to call at least three witnesses who were never previously
 4    identified before July 7, 2021 and were not listed on the government’s witness list (and

 5    for which no 3500 material has been provided). This is improper.
            Since the inception of this case, the government has demanded strict compliance
 6
      from the Defendant in connection with the Court’s orders and the Defendant expects the
 7
      same from the prosecution. The government has had the Court’s order since January and
 8
      has had sufficient time to determine the witnesses it requires for trial. There is no
 9
      reasonable excuse for not complying with the Court’s Order. Accordingly, the Defendant
10
      asks that the Court enforce its January 25, 2021 order and exclude any government
11
      witnesses that were not listed on the government’s June 14 witness list.
12
         IV.    CONCLUSION
13
14          Mr. Avenatti respectfully reserves the right to lodge additional objections to the
15    government’s admission of evidence. As Mr. Avenatti’s review of the government
16    exhibits continues, the Defendant expects to lodge additional objections or legal

17    memoranda with the Court.

18
19     Dated: July 12, 2021                      Respectfully submitted,
20
                                                 /s/ H. Dean Steward
21                                                H. DEAN STEWARD
22                                               Attorney for Defendant
                                                 MICHAEL JOHN AVENATTI
23
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27
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                                                   23
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 1
                                   CERTIFICATE OF SERVICE

 2          I, H. Dean Steward, am a citizen of the United States, and am at least 18 years of
 3
      age. My business address is 17 Corporate Plaza, Suite 254 in Newport Beach, California
 4
 5    92660. I am not a party to the above-entitled action. I have caused, on July 12, 2021,

 6    service of the:
 7
                             DEFENDANT’S TRIAL MEMORANDUM
 8
 9    on the following party, using the Court’s ECF system:

10    AUSA BRETT SAGEL AND AUSA ALEXANDER WYMAN
11
      I declare under penalty of perjury that the foregoing is true and correct.
12
13    Executed on July 12, 2021

14
                                              /s/ H. Dean Steward
15
                                              H. Dean Steward
16
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                                                   24
